Case 22-50495-pwb         Doc 12   Filed 03/07/22 Entered 03/07/22 17:30:47           Desc Main
                                   Document     Page 1 of 1



                 IN THE UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

     IN RE:                                        * CASE NO.: 22-50495-pwb
     Hiep Ngoc Tran,                               *
     AKA Ngoc-Hiep Thi Tran,                       *
                                                   * CHAPTER: 7
            Debtor                                 *
     Hiep Ngoc Tran,                               *
     AKA Ngoc-Hiep Thi Tran,                       *
               MOVANT,                             *
                          VS.                      *
     Citibank, N.A.                                *      Civil Action File No.
                                                   *          20SCE1238
                 RESPONDENT.                       *

                           AMENDED CERTIFICATE OF SERVICE
       I certify that I have this date served the following parties with a copy of the "Notice Of
Requirement Of Response To Motion To Avoid Judicial Lien On Exempt Property And Of Time
To File Same" and "Motion To Avoid Judicial Lien" Docket No. 11, by placing true copies of
same in the United States Mail with adequate postage affixed to insure delivery, addressed to:
 S. Gregory Hays- Chapter 7 Trustee               Hiep Tran
 2964 Peachtree Road                              308 Wickley Way
 Suite 555                                        Woodstock, GA 30188
 Atlanta, GA 30305-2153

 We served by Certified Mail
 Recpt #: 7020 1290 0001 9007 1904
 Citibank, N.A.
 Jane Fraser, CEO
 701 East 60th Street North
 Sioux Falls, SD 57104
                                             Dated: 3/7/2022
                                                    /s/
                                                    Jessica Douglas GA Bar No. 340570
                                                    Attorneys for Debtor

       CLARK & WASHINGTON, PC
       3300 Northeast Expressway
       Building 3
       Atlanta, GA 30341
       (404) 522-2222
       Fax(770)220-0685
